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It Takes One To Know One

By Rebecca Leung
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If you were going to start a Hall of Fame for con men, Barry Minkow would have to be one of
the first inductees. He was one of the most famous stock swindlers of the '80s, and certainly
the youngest. At 20, he was the boy wonder of Wall Street, and CEO of a $300 million
company. At 22, he had been convicted of 57 counts of fraud, and was off to federal prison.

Now 39, Minkow is back in the spotlight, not for committing fraud, but for exposing it. He
says he is seeking redemption by going undercover to help federal law enforcement
agencies crack a number of important cases, proving that when it comes to con men, it
takes one to know one. reports.

Nineteen years ago, Minkow perpetrated a con so audacious, it's still taught as a case study
in business and accounting schools. He founded ZZZZ Best Carpet Cleaning when he was
just 16, then franchised it into a chain, and finally took it public.

On paper, he was worth $100 million. He drove a Ferrari, and even appeared on Oprah
Winfrey, touting himself and his stock.

"| started with the best of intentions, really | can say that," says Minkow. "And when
economic pressure reared its ugly head and | couldn't make payroll. | lied and stole and
cheated.”

Minkow borrowed money from the mob, cooked the books for accountants, and lied to
investors about tens of millions of dollars in insurance contracts to restore buildings
damaged by fire and water.

"We were claiming to be doing restoration jobs totaling in excess of $50 million. We weren't
doing any," says Minkow. "None. Well, | mean, like | did some toilet overflows at Mrs. Jones’
house. But that certainly didn't constitute $50 million."

“How did you manage to convince bankers and lawyers, investors that this was on the up-
and-up?" asks Kroft.

"By getting an auditing firm and getting them the paper work," says Minkow. "And much to
our shame, creating documents that would support earnings and contracts -- 22,000
documents. ... cutting and pasting. White Out."

When a major accounting firm finally demanded to see one of their restoration jobs, Minkow
found a brand new building in Sacramento, paid off a guard, and brought the auditors in ona
Saturday morning.

"We'd give the guard $50 bucks to recognize us. We'd bring the auditors in. They'd say, ‘Hi.'
And we'd walk in and say 'Yeah, we just did all this,"" says Minkow. "We put signs about

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ZZZZ Best. It was like a Hollywood production. And we went to great lengths to fool and to
deceive."

"But it worked," says Kroft.

"Temporarily," says Minkow. "You know, most frauds, that's the way they are. | call it the
second law of fraudo-dynamics. They go from order to disorder. They work, but it's not if
you're gonna get caught, but when."

When it did collapse, he left investors holding the bag for $26 million, wiping out life savings
and ruining lives. Minkow spent seven years and four months behind bars. And it was in the
"hole" at Terminal Island in Los Angeles that he had an epiphany.

"When | was 1988 in prison, Thanksgiving dinner, I'm sitting there with a bank robber. His
name is John Hensley, great guy -- 57 some odd years old. He's got spider web tattoos,”
says Minkow. "They feed me Thanksgiving dinner through a hole in the door. And they nuke
it, the salad and everything. ... | look at Hensley. | look at the nuked Jell-o, | look at the toilet,
| look at the door that don't open, and I'm thinking, ‘You know, maybe it's me. Maybe there's
something wrong with me. Maybe when they go to all this trouble to put you in a place like
this, you better do some changing."

And he did. Minkow earned master's degrees in religion and divinity, and is now preaching to
1,400 parishioners at his community Bible church in San Diego. But he doesn't go near the
collection box.

"Evangelism has been known to be a refuge for con men," says Kroft.

"Oh yeah," says Minkow. "Our church, we're not like that. We tell people who are visiting not
to give. We're not a TV ministry. We don't say, ‘If you don't send me money, I'm gonna die.’
It's not that kind of a ministry at all."

But not all his preaching is done in church. He founded a company called the Fraud
Discovery Institute, and lectures business students, law enforcement officers, and corporate
executives on white-collar crime. Minkow actually began investigating white-collar crime two
years ago, when a friend asked him to check out a questionable investment.

"| looked at the thing. It was volumes of information and Web sites. And | thought to myself,
"Nf | was a crook, what would | do to pull this off?’ And | thought, there is a unique approach,”
says Minkow.

He quickly discovered the company, MX Factors, was operating without a business license
and appeared to be a scam. So he wrote up a report and sent it off to a federal postal
inspector named Tim France.

"He urgently asked me to look into it," says France, who adds that it turned out to be a big
fraud - "$35 million in losses."

"And you wouldn't have known about this unless Barry Minkow had brought it to you," says
Kroft.

"That's absolutely right," says France. "| probably would not have known about it until it

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collapsed." Since then, Minkow has helped law enforcement expose 11 suspected scams.
He's even gone undercover for the FBI wearing a wire. The biggest case involved Financial
Advisory Consultants run by James Lewis, who's charged with bilking investors out of $300
million in retirement money.

"I took one look at him and it was like a flashback. | could just look in his eyes and know he
had 80 balls juggling in the air," says Minkow. "Phone calls were starting to come in. You
have that look. And unless you've been a perpetrator about to be exposed, you don't know
what that look is. And | could just tell in his eyes."

But despite all the help he's given to law enforcement, working with Minkow can bea
frustrating experience.

"The problem with Barry was that he is a bull in a china shop. He expects us federal
investigators to immediately jump on it, and start running with it, and have this thing shut
down and prosecuted within a couple weeks. You just can't do that,” says France. "First of
all, the information that I'm getting is from Barry Minkow. So | have to re-verify everything he
has done already."

Does France trust Minkow? "Trust, but verify," says France.

Minkow is much less interested in prosecuting frauds than he is exposing them while they're
still going on. He searches public records, employs private detectives, and goes undercover
to perform the kind of due diligence most investors don't know how to do.

"The problem that | have, the minute that | get the call is here's what happens. | get a
probable cause, and all of the sudden in my mind, the clock ticks," says Minkow. "And |
know that every day | don't do something, somebody's pouring money into this deal. And
they're gonna end up feeling like | made people feel back in the 1980s. And that clock is just
ticking in my head. | gotta shut this down."

Minkow adds: "It's a race against time."

While we're researching this story, Minkow received a tip about a Texas couple, Debby and
Eric Berry. They control two Dallas-based companies called Genesis Capital Management
and Genesis Alliance, which bankroll a non-profit organization called the Nehemiah Fund. It
promises a 100 percent matching grant to churches willing to put a minimum of $500,000
into a bank account controlled by a representative of the Berrys.

"Genesis Capital, Genesis Alliance and the Nehemiah Fund is what | believe a financial
crime in progress,” says Minkow.

What makes him so convinced that it's a crime in progress?

"All the red flags, every one of them,” says Minkow. "No accountability from the Berrys. They
just are one-man shows. The untenable business model: Normally and regularly people who
are in the grant business don't ask for your money first before they double it."

Minkow decided to go undercover and apply for a matching grant. Wearing a hidden camera

provided by 60 Minutes, which was concealed in a pair of glasses, and carrying a phony
bank statement prepared by the FBI stating his church had in excess of $2 million, he met

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the Berrys in a Dallas restaurant. One of the first things he asked was how much money was
in the fund.

Minkow: What can | say without being misrepresenting to my elder board?

Debby Berry: Tens of millions.

The Berrys told Minkow the money for the matching grants comes from a commercial
venture they control called Genesis Capital Management, which they claim pays out a return
of 300 percent on investments totaling more than $1 billion.

Eric Berry: Ethanol plants, dairies, apartment complexes, resort hotels...

Minkow: You're in all that stuff?

Eric Berry: Different stuff, yeah.

Minkow: Amazing.

Minkow searched the public records but was unable to turn up assets or holdings consistent
with the Berrys' claims. He did find outstanding tax liens against the Berrys totaling more
than $240,000, and discovered they were operating out of three small rooms in a Dallas
office park.

"They give you 3-to-1 your money back if they're in a business with you commercially — 1-to-
1 if you're a non-profit," says Minkow. "They claim to have $1.5 billion, and they operate out
of 900 square feet where they share a secretary with everybody on the floor? | mean, | have
a church and our budget's like $1.8 million. It takes like eight elders and 17 employees to run
$1.8 million. How the more $1.5 billion? It's just misrepresentation after misrepresentation."
To get an independent evaluation of the Berrys' operation, 60 Minutes went to Sean
Delaney a former assistant attorney general in New York state, and an expert in charity
frauds. We gave him Minkow's report, and transcripts of all the taped conversations.

"It has the indicia of a Ponzi scheme. And yes, it appears to be in its early stages,” says
Delaney.

"What's your general impression of the work that Barry Minkow has done on this?" asks
Kroft.

"For someone who does not have the tools of a law enforcement agency at his disposal, Mr.
Minkow does quite thorough work. | was impressed with his report," says Delaney.

"If you had money with the Berrys right now, knowing what you know, would you call up the
Berrys and say, 'l want my money back?" asks Kroft.

"I'd demand my money back in writing," says Delaney. "And I'd hire myself a good lawyer."
The Berrys have not been charged with any crimes. They declined 60 Minutes’ requests for

an interview, and for copies of their latest financial statements. But since Minkow issued his
report, the FBI, the Texas attorney general and the Montana auditor's office have all begun

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investigations.

Minkow sees uncovering fraud as an extension of his ministry. But he wants everyone to
know it's not easy.

"One report is wrong, I'm done. And, when you're Barry Minkow and you say something is a
fraud, get law enforcement involved, blow the whistle, and you're wrong, it's over. Over! It's
called one and done," says Minkow.

He's now helped authorities uncover far more fraud than he ever perpetrated. And as a
result, Judge Dikran Tevrizian, who originally sentenced Minkow to 25-years, released him
from the terms of his probation.

"He has done some good things. He's uncovered several hundreds of million dollars worth of
frauds. And | give him credit for that," says Tevrizian, who's heard from federal authorities
that Minkow has helped in various investigations. "Not only the federal agencies, local
agencies, but the insurance industry in uncovering lots of frauds that have been committed.”

And Minkow has not lost his flair for self-promotion. He's written a book called "Cleaning
Up," and his agent is negotiating with several production companies to film his life story.

"What do you want?" asks Kroft. "What are you looking for?"

"| want everybody whose ever failed to know that they can come back from failure," says
Minkow. "You can take what you used to use for evil and manipulative reasons and to hurt
people, and use those same talents and abilities to help them. And | believe people can
change!”

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